Review to annul an award of respondents granted to one Lewis Falvik, employed as a stevedore in discharging *Page 358 
cargo from the steamship "Yucatan," at San Pedro, California. This case differs from North Pacific Steamship Co. v.Industrial Accident Commission, ante, p. 316, [163 P. 199], this day decided, in no essential particular. In the latter case the injured man was a seaman. In the present case the occupation, that of a stevedore, was in its essence maritime. (Atlantic Transport Co. v. Imbrovek, 234 U.S. 52, [51 L. R. A. (N. S.) 1157, 58 L.Ed. 1208, 34 Sup. Ct. Rep. 733]; The Canada,
7 Fed. 119, [7 Sawy. 173]; Benedict on Admiralty, 4th ed., par. 207.)
Upon the authority of North Pacific Steamship Co. v.Industrial Accident Commission, ante, p. 346, [163 P. 199], the writ is discharged and the award affirmed.